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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF LOUISIANA
                          SHREVEPORT DIVISION

 SHERRY PAPA                           :   CIVIL ACTION NO. 5:21-cv-01589
                                       :
   V.                                  :   JUDGE: Elizabeth E. Foote
                                       :
 CAPITAL ONE,                          :   MAGISTRATE: Judge Mark Hornsby
 NATIONAL ASSOCIATON                   :   JURY DEMAND




          PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
    DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)




                                   Respectfully Submitted,

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                                   ATTORNEYS FOR PLAINTIFF
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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF LOUISIANA
                                  SHREVEPORT DIVISION

 SHERRY PAPA                                        :   CIVIL ACTION NO. 5:21-cv-01589
                                                    :
      V.                                            :   JUDGE: Elizabeth E. Foote
                                                    :
 CAPITAL ONE,                                       :   MAGISTRATE: Judge Mark Hornsby
 NATIONAL ASSOCIATON                                :   JURY DEMAND


            PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION FOR
      DISMISSAL PURSUANT TO FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6)

 MAY IT PLEASE THE COURT:

                                      I.      INTRODUCTION

           Defendant Capital One, National Association (hereinafter, “Defendant” or “Capital One”)

 has filed a 12(b)(6) Motion to Dismiss (“Motion”) and argues that the claims of Plaintiff, Sherry

 Papa (“Ms. Papa” or “Plaintiff”), should be dismissed. For all of the reasons set forth herein,

 Plaintiff contends that Capital One’s Motion should be denied in its entirety. it is entirety.

           This is a case about Ms. Papa, and her allegations that Capital One has violated

 employment laws. Nothing else is at issue in this litigation. Plaintiff has alleged and is entitled to

 have the opportunity to conduct discovery and to prove her claims of illegal conduct.

              II.    PLAINTIFF STATED ALL CLAIMS AS REQUIRED BY THE
                          LIBERAL FEDERAL PLEADING STANDARDS

 A.        Standard for Motions to Dismiss.

           The Federal Rules of Civil Procedure sanction dismissal where the plaintiff fails “to state

 a claim upon which relief can be granted.” FRCP 12(b)(6). On a Rule 12(b)(6) motion the Court is

 required to “accept[ ] all well-pleaded facts as true and view[ ] those facts in the light most

 favorable to the plaintiffs.” Dorsey v. Portfolio Equities, Inc., 540 F. 3d 333, 338 (5th Cir. 2008)




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 (quoting Stokes v. Gann, 498 F.3d 483, 484 (5th Cir.2007) (per curiam). A pleading states a claim

 for relief when, inter alia, it contains a “short and plain statement . . . showing that the pleader is

 entitled to relief . . .” FRCP 8(a)(2); Erickson v. Pardus, 551 U.S. 89, 93, 127 S.Ct. 2197, 2200

 (2007); General Elec. Capital Corp. v. Posey, 415 F.3d 391, 396 (5th Cir. 2005) (quoting FRCP

 8(a)(2)). In the context of employment discrimination claims, “the ordinary rules for assessing the

 sufficiency of a complaint apply,” and a plaintiff need not establish a prima facie case of

 employment discrimination in her complaint. Swierkiewicz v. Sorema, 534 U.S. 506, 511, 122

 S.Ct. 992, 997 (2002). In other words, “[s]pecific facts are not necessary; the statement need only

 'give the defendant fair notice of what the … claim is and the ground upon which it rests.” Erickson,

 551 U.S. at 93, 127 S.Ct. at 2200 (emphasis added). See also Posey, 415 F. 3d at 396. “This

 simplified notice pleading standard relies on liberal discovery rules and summary judgment

 motions to define disputed facts and issues and to dispose of unmeritorious claims.” Swierkiewicz,

 534 U.S. at 512, 122 S.Ct. at 998. “The complaint must be liberally construed, with all reasonable

 inferences drawn in the light most favorable to the plaintiff.” Frame v. City of Arlington, 616 F.

 3d 476, 481 (5th Cir. 2010) (emphasis added); Woodard v. Andrus, 419 F. 3d 348, 351 (5th Cir.

 2005). The claimant is not required to parse the factual allegations into individualized elements of

 a claim. Posey, 415 F. 3d at 396, n. 5; EPCO Carbon Dioxide Products, Inc. v. JP Morgan Chase

 Bank, NA, 467 F.3d 466, 467 (5th Cir. 2006).

        Capital One relies upon the Twombly decision and contends that “a complaint must contain

 sufficient factual matter, accepted as true, to “state a claim to relief that is plausible on its face.”

 supra, Twombly, at U.S. 544 (2007). Importantly, however, Twombly did not overrule

 Swierkiewicz. See, Twombly, 550 U.S. at 569. Moreover, a claim is facially plausible when it

 contains sufficient factual content for the court “to draw the reasonable inference that the defendant




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 is liable for the misconduct alleged.” Id. Plausibility does not equate to possibility or probability;

 it lies somewhere in between. See, Twombly, supra. Plausibility simply calls for enough factual

 allegations to raise a reasonable expectation that discovery will reveal evidence to support the

 elements of the claim. See Bell Atl. Corp. v. Twombly, 550 U.S. at 556, 127 S.Ct. at 1965.

         Simply put, “[t]he notice pleading requirements of Federal Rule of Civil Procedure 8 and

 case law do not require an inordinate amount of detail or precision.” Gilbert v. Outback Steakhouse

 of Florida Inc., 295 Fed. Appx. 710, 713 (5th Cir. Oct. 10, 2008) (unpubl.) (citations and internal

 quotation marks omitted). Under the Federal Rules of Civil Procedure, “a complaint need not pin

 plaintiff's claim for relief to a precise legal theory.” FRCP 8(a)(2) generally requires only a plausible

 “short and plain” statement of the plaintiff's claim, not an exposition of his legal argument.”

 Skinner v. Switzer, 562 U.S. 521, 131 S. Ct. 1289, 1296 (2011). As shown below, Plaintiff has

 satisfied the pleading requirements such that CAPITAL ONE’s Motion should be denied.

 B.      Capital One Confuses FRCP 12(b)(6) With FRCP 56 – Plaintiff is Not Required to
         Pled a Prima Facie Case at the Pleading Stage.

         The fundamental flaw in the Capital One Motion is that Capital One confuses the

 plausibility pleading standard of Twombly/Iqbal with the evidentiary standard of McDonnell

 Douglas Corp. v. Green, 411 U.S. 792 (1973), and its burden shifting analysis required for

 summary judgment analysis. Such confusion has recently been addressed by the Fifth Circuit in

 Cicalese v. Univ. of Texas Med. Branch, 924 F.3d 762, 766 (5th Cir. 2019). In Cicalese, Judge

 Duncan, writing for the Fifth Circuit made an effort to clarify the respective analysis required

 under each rule. In doing so, the Fifth Circuit clarified that under the Twombly/Iqbal pleading

 standard, a complaint must only “state a claim to relief that is plausible on its face,” which differs,

 of course, from the McDonnell Douglas standard, which “established an allocation of the burden

 of production and an order for the presentation of proof in Title VII discriminatory-treatment



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 cases.” St. Mary’s Honor Ctr. v. Hicks, 509 U.S. 502, 506 (1993). See, Cicalese, supra at 766. The

 Fifth Circuit further noted that the Supreme Court has distinguished the McDonnell Douglas

 evidentiary standard from pleading requirements, and, thus, both the Supreme Court and the Fifth

 Circuit have specifically reiterated many times that “a plaintiff need not make out a prima facie

 case of discrimination [under McDonnell Douglas] in order to survive a Rule 12(b)(6) motion to

 dismiss for failure to state a claim.” Cicalese, supra at 766, citing Raj v. La. State Univ., 714 F.3d

 322, 331 (5th Cir. 2013). The Fifth Circuit, thus, held in Cicalese, supra, that “a district court

 therefore errs by requiring “a showing of each prong of the prima facie test for disparate treatment

 at the pleading stage[.]”

        Capital One’s misunderstanding of these two separate analyses is the fundamental flaw of

 Capital One’s Motion which relies heavily on the citation of cases many of which deal with

 summary judgments - none of which have any relevance at this stage of litigation. The one

 dismissal case relied upon significantly, Whitlock v. Lazer Spot, Inc., 656 Fed. Appx 284 (5th Cir.

 2016) is a 2016 unpublished opinion which clearly states that it should not be relied upon for

 precedence and which is factually distinguishable from the instant case. Clearly, then, the Capital

 One Motion should be denied in its entirety.

 C.     Plaintiff’s Claims under the Title VII Act Were Adequately Pled by Plaintiff’s
        Complaint.

        Title VII of the Civil Rights Act prohibits an employer from refusing to hire or to

 discharge “any individual, or otherwise to discriminate against any individual” based on his or

 her race. 42 U.S.C. §2000e-2(a)(1). Title VII also further states that “[i]t shall be an unlawful

 employment practice for an employer to discriminate against any of his employees…because he

 has made a charge” under Title VII. 42 U.S.C. 2000(e)-3(a). The purpose of the Civil Rights Act

 is clear: the rights afforded by the United States apply to all persons in the United States, and no



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 person can impair them. See 42 U.S.C. §1981.

        1.       Plaintiff Has Adequately Pled Her Discrimination Claim.

        Assuming, arguendo, that it is necessary at this stage of litigation to plead a prima facie

 case, (and the same is denied by Plaintiff), Plaintiff has clearly adequately pled the same for race

 discrimination. A prima facie case of race discrimination requires a plaintiff to show “that she

 1) is a member of a protected class; 2) was qualified for her position; 3) was subjected to an

 adverse employment action; and 4) was replaced by someone outside the protected class, or

 that other similarly situated persons were treated more favorably.” Septimus v. University of

 Houston, 399 F. 3d 601, 609 (5th Cir. 2005). A plaintiff need only show that the protected

 trait was a motivating factor and “need only present sufficient evidence for a reasonable jury

 to conclude, by a preponderance of the evidence, that “race, color, religion, sex, or national

 origin was a motivating factor for any employment practice.”” Desert Palace, Inc. v. Costa, 539

 U.S. 90, 101 (2003)(quoting 42 U.S.C. §2000e-2(m)).

        Here, the Complaint alleges that Plaintiff is a white, and, thus, a member of a protected

 class.1 She was qualified for her position and was subjected to an adverse employment action

 (at a minimum her employment was terminated)2. The Complaint further alleges that Plaintiff

 was treated differently than her similarly situated African American comparators.3 Plaintiff has

 clearly pled a prima facie case of race discrimination.

        2.       Plaintiff Has Adequately Pled her Hostile Work Environment Claim.

        In order to establish a hostile work environment claim, the plaintiff must demonstrate: (1)

 she is a member of a protected group; (2) she was the victim of uninvited harassment; (3) the



 1
        R. 1. Par. 1.
 2
        R. 1. Par. 28.
 3
        R. 1. Par. 14-20


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  harassment was based on a protected characteristic; (4) the harassment affected a term, condition,

  or privilege of employment; and (5) her employer knew or should have known of the harassment

  and failed to take prompt remedial action. See Woods v. Delta Beverage Grp., Inc., 274 F.3d 295,

  298 (5th Cir. 2001). To affect a term, condition, or privilege of employment, the harassment must

  be sufficiently severe or pervasive so as to alter the conditions of employment and create an

  abusive working environment. See Stewart v. Miss. Transp. Comm’n, 586 F.3d 321, 330 (5th Cir.

  2009). This depends on the totality of the circumstances, including “the frequency of the

  discriminatory conduct; its severity; whether it is physically threatening or humiliating, or a mere

  offensive utterance; and whether it unreasonably interferes with an employee’s work

  performance.” Harvill v. Westward Commc’n, LLC, 433 F.3d 428, 434 (5th Cir. 2005) (quoting

  Harris v. Forklift Sys., Inc., 510 U.S. 17, 23 (1993)). Importantly, the severe or pervasive standard

  is stated in the disjunctive, as a plaintiff need not demonstrate both are present. See Id. at 434-35

  (collecting cases). It follows logically that the required showing of severity varies inversely with

  the pervasiveness of the conduct. See Lauderdale v. Tex. Dep’t of Crim. Just., Inst. Div., 512 F.3d

  157, 163 (5th Cir. 2007). These are fact intensive determinations, and discovery (and or

  amendment) should be allowed before the drastic act of dismissal of claims.

         Here, the Complaint alleges that Plaintiff is white, and, thus, a member of a protected

  class.4 She was qualified for her position and was subjected to an adverse employment action

  (at a minimum her employment was terminated)5. The Complaint further alleges that Plaintiff

  was subjected to harassing conduct, including being subjected to racial epithets, which continued

  for months.6 Plaintiff has clearly pled a prima facie case of hostile work environment.



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         R. 1. Par. 1.
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         R. 1. Par. 28.
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         R. 1. Par. 14-20


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           3.       Plaintiff Has Adequately Pled Her Retaliation Claim.

           Assuming, arguendo, that it is necessary at this stage of litigation to plead a prima facie

  case, (and the same is denied by Plaintiff), Plaintiff has clearly adequately pled the same for

  retaliation. To establish a prima facie case of retaliation, a plaintiff must show “(1) [s]he engaged

  in protected activity, as described in Title VII; (2) [s]he suffered an adverse employment action;

  and (3) a causal nexus exists between the protected activity and the adverse employment action.”

  Mota v. Univ. of Tex. Houston Health Sci. Ctr., 261 F. 3d 512, 519 (5th Cir. 2001).

           “Protected activity” includes making a charge of discrimination or retaliation in the

  opposition to the same. 42 U.S.C. Section 2000e-3(a).7 An “adverse employment action” is one

  that could dissuade a reasonable worker from making a charge of discrimination. Burlington v. &

  Santa Fe Ry. Co. v. White, 548 U.S. 53, 62, 126 S.Ct. 2405, 165 L.Ed.2d 345 (2006). All of the

  complained of actions of Plaintiff clearly meet these standards.

           Plaintiff’s Complaint asserts that she engaged in the protected activity of complaining of

  race discrimination.8 Plaintiff’s Complaint further asserts that Plaintiff was subjected to adverse

  actions, including, but not limited to disciplinary actions and the termination of her employment.9

  Indeed, Capital One’s Motion does not seem to contest these facts. Rather, Capital One alleges

  that Plaintiff cannot show any causal connection between her alleged complaints about unfair




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           The Fifth Circuit has defined protected activity as “opposition to any practice rendered unlawful…., including
  making a charge, testifying, assisting, or participating in any investigation, proceedings, or hearing under Title VII.”
  Ackel v. Nat’l Commc’ns, Inc., 339 F.3d 376, 385 (5th Cir. 2003). To invoke the anti-retaliation provisions, an
  employee’s complaint must communicate merely in some way that there is unlawful discrimination. Broderick v.
  Donaldson, 437 F. 3d 1226, 1232 (D.C. Cir. 2006) (no “magic words” are required), McDonnell Douglas Corp. v.
  Green, 411 U.S. 792 (1973) at p. 805 (“an informal complaint by an employee attempting to protest or correct allegedly
  discriminatory conditions of employment is sufficient”). This principle was recently reaffirmed in the Supreme
  Court’s decision of Kasten v. Saint-Gobain Performance Corp., 1131 S.Ct. 1325 (2011) (oral complaints under the
  Fair Labor Standards Act are sufficient as to conclude otherwise would “discourage the use of informal workplace
  grievance procedures”).
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           R. 1, Par. 21
  9
           R. 1, Par. 28


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  employment practices or discriminatory or retaliatory behavior as alleged in her lawsuit.” Such an

  inquiry is simply improper at the pleadings stage of litigation as Plaintiff has clearly alleged a

  plausible claim and given fair notice of the same to Capital One. Notwithstanding this fact, the

  Complaint, however, is clear in pleading the timeline that Plaintiff engaged in the protected activity

  of opposing discrimination only a few months before her employment was terminated.10

           The Fifth Circuit has long recognized that a temporal connection can be sufficient to satisfy

  a causal connection. See Evans v. Houston, 246 F. 3d 344, 354 (5th Cir. 2001) (noting that “a time

  lapse of up to four months has been found sufficient to satisfy the causal connection for summary

  judgment purposes”). Such temporal connection is well accepted proof of an unlawful motive. See,

  e.g. Richardson v. Prairie Opportunity, 470 Fed. App’x 282, 2860287 (5th Cir. 2012) (just less

  than two months between the complaint and employment action is indicative of a causal

  connection). In Swanson v. Gen. Serv. Admin., 110 F.3d 1180, 1188 (5th Cir. 1997) (citation

  omitted), the Fifth Circuit has held that “[c]lose timing between an employee's protected activity

  and an adverse action against [her] may provide the ‘causal connection’ required to make out a

  prima facie case of retaliation.”

           Moreover, contrary to the assertions of Capital One, Plaintiff does not rely on the

  temporal connection alone. In this case, Plaintiff alleges that the decision-makers were all aware

  of her complaints of and opposition to racial discrimination.11 This knowledge combined with the

  close temporal connection, satisfies the prima facie case, particularly at the pleading stage of

  litigation.12



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           R. 1. Par. 23
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           R. 1, Par. 21-28
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           Plaintiff concedes that the standard for determining causation in Title VII retaliation cases is the “but for”
  standard. Univ. of Tex. Sw. Med. Ctr. v. Nassar, 133 S. Ct. 2517, 2534–35 (2013). However, Plaintiff reminds the
  Court that “but for” does not mean “sole cause” Leal v. McHugh, 731 F.3d 405, 415 (5th Cir. 2013). Rather, an
  employer may be liable under Title VII if other factors contributed to its taking adverse action as long as the


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           4.       The Proffered Legitimate Business Reason for Its Discrimination or Retaliation
                    is Improperly Considered for the 12(b)(6) Dismissal.

           In attempting to dismiss Plaintiff’s claims, Capital One alleges that it had a legitimate

  business reason for the termination of Plaintiff’s employment. Such an assertion, once again,

  demonstrates Capital One’s confusion regarding FRCP 12(b)(6) dismissal and summary judgment.

  The heightened pleading standard, as Capital One asserts is required, has expressly been rejected

  by the United States Supreme Court in employment discrimination cases because the court

  recognizes that discovery might uncover direct evidence of discrimination. Swierkiewicz, supra.

  at 511-512. The Supreme Court observed: “It thus seems incongruous to require a plaintiff, in

  order to survive a motion to dismiss, to plead more facts than he may ultimately need to prove to

  succeed on the merits if direct evidence of discrimination is discovered.” Id at 511-512. Clearly,

  at this stage of the litigation, Plaintiff has properly pled her discrimination and retaliation claims

  without the necessity of alleging direct evidence. Furthermore, as the Fifth Circuit has recently

  admonished the plausibility pleading standard does not require this type of evidentiary pleading.

  Cicalese, supra at 766. As such, Capital One’s Motion should be denied.

  D.       Plaintiff’s Claims Should Not be Dismissed Before Discovery is Completed.

           Capital One’s Memorandum categorizes Plaintiff’s claims under the Title VII Act into the

  following categories: discrimination, hostile work environment and retaliation and requests that the

  court segregate these claims and dismiss those that Capital One asserts are not valid for

  discrimination claims, but are valid for the retaliation claims and vice versa. However, Plaintiff

  respectfully submits that Capital One attempts to categorize and dismiss these claims without the

  benefit of discovery and the full factual record is premature and not proper on a Motion to Dismiss.



  protected activity was the factor that made a difference. Id. Such a determination is clearly a fact issue, and should
  never be made at the pleading stage of litigation.


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  See Swierkiewicz, supra (“Before discovery has unearthed relevant facts and evidence, it may be

  difficult to define the precise formulation of the required prima facie case in a particular case. Given

  that the prima facie case operates as a flexible evidentiary standard, it should not be transposed into

  a rigid pleading standard for discrimination cases”). Therefore, Plaintiff respectfully requests that

  she be allowed sufficient time to conduct discovery in accordance with the Scheduling Order issued

  by this Court before any of her claims are dismissed.

                                            III.    CONCLUSION

          Based upon the above and foregoing, Plaintiff has clearly satisfied the federal pleading

  requirements and should be allowed to proceed with these claims. Capital One’s Motion should be

  denied in toto. Plaintiff adequately pled all claims and need not plead the detailed factual allegations

  insisted by Capital One. Alternatively, and only to the extent this honorable Court deems Plaintiff’s

  Complaint to be deficient, Plaintiff requests a leave to amend her Complaint for a period of ten days

  following any ruling by this Court. Plaintiff further prays for all other relief to which she may be

  entitled.

                                                Respectfully Submitted,

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